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                  EXHIBIT B
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                               DECLARATION OF MARIA ODOM

         1.       I, Maria Odom, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that

 the following is true and correct. If called as a witness, I could and would testify as follows.

         2.       I am an attorney licensed to practice law in the State of Georgia. Since 2017, I

 have been Vice President for Legal Programs (formerly named Legal Services) at Kids in Need

 of Defense (KIND). I previously served as the U.S. Department of Homeland Security (DHS)

 Citizenship and Immigration Services Ombudsman (2012-2017), as Executive Director of the

 national legal services organization Catholic Legal Immigration Network, Inc. (CLINIC) (2009-

 2012), and as an immigration attorney in private practice.

         3.       In my role, I lead KIND’s Legal Programs Team, comprising approximately 203

 attorneys, social service professionals, and support staff across KIND’s Headquarters and ten

 field offices.

 About KIND

         4.       Kids in Need of Defense (KIND) is a national non-profit organization, founded in

 2008 by the Microsoft Corporation and UNHCR Special Envoy Angelina Jolie, to provide free

 legal services to refugee and immigrant children who arrive in the United States unaccompanied

 by a parent or legal guardian, and face removal proceedings in Immigration Court.

         5.       KIND is headquartered in Washington, D.C., and serves children through its ten

 field offices, located throughout the country in Atlanta, GA; Baltimore, MD; Boston, MA;

 Houston, TX; Los Angeles, CA; New York, NY; Newark, NJ; San Francisco and Fresno, CA;

 Seattle, WA; and Washington, DC and Northern Virginia, and through additional staff in El Paso,

 TX and San Diego, CA. These field offices serve children through a combination of direct

 representation and the recruiting, training, and mentoring of pro bono counsel.




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        6.      Since 2009, KIND has received referrals for more than 20,400 children from 74

 countries, and has trained and mentored pro bono attorneys at more than 660 law firms, corporate

 legal departments, law schools, and bar associations. In 2019, 2,643 children were referred to

 KIND for legal services.

        7.      KIND’s      services   include    conducting    screenings   and   know-your-rights

 presentations to unaccompanied children in government custody; educating parents and sponsors

 of unaccompanied children on the children’s legal rights and obligations with respect to their

 removal proceedings; providing direct representation of children in their immigration-related

 proceedings, including in immigration court and before federal and state agencies; and connecting

 immigrant children with pro bono lawyers for representation in immigration-related matters.

        8.      It is central to KIND’s mission to ensure children’s access to the full measure of

 substantive and procedural protections that the law affords. KIND also advocates for laws,

 policies, and practices to enhance protections for unaccompanied immigrant children in the United

 States, and is working to build a stronger regional protection framework throughout Central

 America and Mexico. KIND educates policymakers, the media, and the broader public about the

 violence and persecution that drive children to migrate and seek safety in the United States, and

 about their needs for legal protection.

        9.      Many children served by KIND and its partners have endured serious harms, and

 many request and receive protection under United States law. When KIND staff identify a child as

 potentially eligible for lawful immigration status or other relief from removal, the child may be

 matched with a free attorney on KIND’s staff or with pro bono counsel to assist in preparing a

 request for such status or relief to the appropriate adjudicator(s).




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        10.     A growing share of KIND’s cases involve representation of unaccompanied

 children held in the custody of the Department of Health and Human Services (HHS) Office of

 Refugee Resettlement (ORR). As a subcontractor to ORR, KIND provides know-your-rights

 presentations and legal representation to children in detention, long-term foster care, and other

 custodial programs through our Seattle, Houston, San Francisco, New York, and Boston offices.

 For example, since beginning a detained program at the Cayuga Centers in the Bronx, New York

 in 2019, KIND has served over 465 children there.

        11.     In 2019, KIND expanded its legal and advocacy work in Mexico and along the

 U.S.-Mexico border. We work closely with Mexican child welfare agencies on cases of

 vulnerable unaccompanied children in their custody. KIND provides training to a number of

 Mexican stakeholders on U.S. legal protections and custody protocols for unaccompanied

 children. We have provided legal orientations to children in Mexico who have subsequently

 presented at a U.S. port of entry seeking asylum. KIND tracks these cases and, after children are

 released from ORR shelters, we either represent the children in their immigration cases or refer

 them to legal service providers in the areas where they go to live, if outside our service areas. In

 exceptional cases—where a child we meet in Mexico has significant medical needs or is

 particularly vulnerable—we coordinate with the U.S. government to ensure the child receives

 appropriate services in U.S. custody.

 Title 42 Expulsions Raise Profound Concerns

        12.     In March 2020, the Centers for Disease Control and Prevention (CDC) issued an

 interim final rule and a related order1 invoking, for the first time, decades-old public health


 1
  Centers for Disease Control and Prevention, Control of Communicable Diseases; Foreign
 Quarantine, Suspension of Introduction of Persons into the United States from Designated



                                                   3
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 authorities and purporting to direct U.S. Customs and Border Protection (CBP) to expel nearly

 all asylum seekers who reach the U.S.-Mexico border, purportedly to avoid “introduction” of the

 pandemic infectious disease Covid-19.

          13.     KIND has articulated its objections to this Title 42 Process in a number of public

 statements, including a comment letter on the CDC interim final rule and a statement for the

 record for a Senate oversight hearing.2 We have noted that, “by stripping children of vital legal

 protections and any meaningful opportunity to seek humanitarian relief before being returned,”

 the CDC order, and CBP’s implementation of it, expose children to “a heightened risk of human

 trafficking and persecution,” in contravention of the 2008 Trafficking Victims Protection

 Reauthorization Act (TVPRA).3

          14.     KIND works with children involved in the Title 42 process in multiple ways. The

 two most immediate effects of the Title 42 process concern our ORR detention work, and our

 work along the U.S. southern border and with children who have been deported or expelled to

 Central America.




 Foreign Countries or Places for Public Health Purposes, 85 Fed. Reg. 16559 (Mar. 24, 2020);
 Centers for Disease Control and Prevention, Notice of Order Under Sections 362 and 365 of the
 Public Health Service Suspending Introduction of Certain persons From Countries Where a
 Communicable Disease Exists, 85 Fed. Reg. 17060 (Mar. 26, 2020).
 2
  Letter to Kyle McGowan, Re: CDC-2020-033, Control of Communicable Diseases, etc., RIN
 0920-AA76 (April 23, 2020), available at https://supportkind.org/wp-
 content/uploads/2020/04/CDCRuleFinal_4.23.20.pdf; Statement for the Record by Kids in Need
 of Defense (KIND), “CBP Oversight: Examining the Evolving Challenges Facing the Agency,”
 Senate Committee on Homeland Security and Governmental Affairs (June 25, 2020), available
 at https://supportkind.org/wp-content/uploads/2020/06/KINDs-Statement-for-the-Record-June-
 25-2020.pdf and attached hereto as Attachment A.
 3
     Statement for the Record, Attachment A, at 1.

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        15.     KIND’s programs at ORR shelter facilities have received very few new clients

 since the order went into effect, as the shelter facilities have largely ceased receiving new

 asylum-seeking children from the border. According to ORR data, the average number of UACs

 referred to ORR in fiscal year 2020 has plummeted from 60-80 per day from October 2019

 through March 2020, to just 2 per day in April, 1 per day in May, and 2 per day in June.4

        16.     Ordinarily, those children would be referred to the custody of ORR, where they

 would be placed into regular removal proceedings before an immigration judge. KIND, along

 with other organizations and lawyers, would then represent the children in their immigration-

 related matters and help them seek humanitarian protection in the United States. Because

 children in the Title 42 process never reach ORR they can never access these services.

 KIND’s Work with Children in the Title 42 Process

        17.     Since the Title 42 Process began, the nature of our work with unaccompanied

 children in the United States has changed fundamentally. Because the vast majority of children

 subject to the Title 42 Process never reach ORR custody, we only hear of those rare cases where

 a parent or relative in the United States learns that a child has been detained and will be returned

 to the home country and is independently able to seek help in time. Even then, the parent or

 relative is not always informed about the risk that their child will be rapidly expelled, and, unlike

 in ORR, neither children nor their parents are provided with information about how to seek help

 or resources for legal assistance.

        18.      Sometimes a parent or relative reaches out to lawyers they know, and those

 lawyers refer the relatives to us. In other instances, desperate parents have called KIND’s main



 4
  HHS, Latest UAC Data – FY2020, at https://www.hhs.gov/programs/social-
 services/unaccompanied-alien-children/latest-uac-data-fy2020/index.html (last visited July 23,
 2020).

                                                   5
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 phone number. In some other cases, other non-profit organizations become aware of the cases

 and have reached out to KIND for support. Due to the speed of the expulsions, and the secrecy

 concerning where the children are held, by the time we hear of the child’s case, in some

 instances the child has already been deported before we can intervene. In one case, a girl who

 had fled her country after being attacked and raped was expelled from the United States, where

 she was seeking safety, before KIND could locate her.

        19.     For the first months the Title 42 Process was in operation, we heard of no children

 who were in the course of a Title 42 expulsion while they were still in the United States. But in a

 number of recent instances, we have managed to have contact with the child’s family while the

 child is still in the country. In almost every case, our intervention has succeeded in officials re-

 processing the children under Title 8, rather than Title 42, meaning that the child is transferred to

 ORR custody instead of being placed on a flight for removal.

        20.     In each of these cases, our communication has been with the immigration

 agencies CBP and/or U.S. Immigration and Customs Enforcement (ICE). To the best of KIND’s

 knowledge and belief, these classification and reclassifications decisions are made by DHS. In

 fact, we are not aware of CDC’s direct involvement in making any custodial decision concerning

 a child in the Title 42 process, or any decision to take a specific child out of the Title 42 process

 and put them into regular Title 8 removal proceedings. As far as we can tell, the entire process is

 administered and operated by DHS, and DHS officers are the ones we interface with when we

 advocate for children in the Title 42 process.

        21.     When KIND first hears of a child facing expulsion, typically via a family member

 who has been able to communicate with the child by phone, our first step is to attempt to gather

 basic information about the child and the child’s whereabouts. It has been extremely difficult to




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 locate children in government custody in many instances. After gathering preliminary

 information from a family member or other contact, a KIND attorney then coordinates the

 signing of a DHS G-28, Notice of Entry of Appearance as Attorney or Accredited Representative

 form, on behalf of the child via their parent or family member. The KIND attorney then emails

 the Notice of Appearance to contacts at CBP and ICE, putting DHS on notice that the child is an

 unaccompanied minor and should be subject to protections afforded under the TVPRA, and

 contacts DHS to try to verify the child’s location.

        22.     Children processed under Title 42 are not provided with an “Alien Registration

 Number,” or “A-number,” which makes them more difficult to locate and track throughout the

 system. Instead, they are provided with a “Subject ID” number. On the Notice of Appearance

 form, and in communications with ICE and CBP, for example, the attorney sends the child’s

 name and date of birth, but locating the child quickly would likely be a more streamlined process

 in these fast-moving cases if unique A-numbers were assigned.

        23.     The KIND attorney will also contact other DHS points of contact, depending on

 the child’s suspected geographic location. For example, in the Harlingen, Texas sector, we work

 with CBP, which will reprocess our clients under Title 8, while in Arizona, we contact CBP as

 well as ICE, as the children have often been transferred to ICE for expulsion under Title 42 and

 are transferred back to CBP to be reprocessed under Title 8. These contacts may involve repeated

 emails and telephone calls to CBP facilities and our known points of contact in CBP and ICE.

        24.     In one such case, on July 23, a KIND attorney emailed a Deportation Officer in

 charge of juveniles in the ICE Phoenix Field Office. The Deportation Officer replied to the

 message confirming that the child “will be placed in title 8 proceedings and placed in ORR care

 as soon as his case is reprocessed.” A redacted copy of this email correspondence is attached to




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 this Declaration as Attachment B. This correspondence demonstrates that it is ICE and CBP, not

 CDC, making decisions as to how a child will be processed.

        25.     In addition to contacting DHS officials, KIND may work with other attorneys

 litigating issues involving Title 42; those attorneys have, in some cases, flagged our clients’

 cases for the government.

        26.     In the approximately nineteen cases in which KIND became aware of a child

 facing Title 42 expulsion and intervened by taking the steps outlined above, DHS moved the

 children to Title 8 processing and the children were transferred to ORR custody. In one case,

 KIND found out about a child too late and the child had already been expelled on a flight earlier

 in the day that KIND contacted the government.

        27.     Even though we have achieved limited success in these cases, the operation of the

 Title 42 Process prevents us from reaching the vast majority of children subject to it. The secrecy

 around the process prevents meaningful access to a lawyer: children have reported to KIND

 attorneys that while they were held in hotels or other unlicensed placements subject to Title 42,

 they were not told that they had a right to speak to a lawyer. Until recently, there was very little

 public information concerning where DHS was holding children, meaning that lawyers did not

 even know where to go to offer their services. News stories published only in the past few weeks

 and the Flores Monitor’s report revealed that unaccompanied children were being held in hotels

 in different cities along or near the U.S.-Mexico border.5 In some cases that KIND was involved

 with, children were in DHS custody for approximately eight days, but we understand from these

 reports that other children are held in motels for weeks.



 5
   E.g., Nomaan Merchant, Associated Press, “Migrant kids held in US hotels, then expelled”
 (July 22, 2020), available at https://apnews.com/c9b671b206060f2e9654f0a4eaeb6388 (last
 visited July 23, 2020).

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        28.     If KIND were able to access children currently being detained in motels or DHS

 processing stations, attorneys from our and other organizations could screen them for relief and

 conduct the advocacy and representation that I describe above, including advocating for the

 children to be taken out of the Title 42 process, reclassified as Title 8, and sent to ORR. After the

 children are sent to ORR custody, provided they were sent to the facilities we staff, we would

 then either represent the children themselves in their immigration matters, or secure them other

 pro bono or legal services lawyers who could represent them. But if children are deported or

 moved to other unknown locations, it is essentially impossible for us to provide them with legal

 services.

 Prolonged Hotel Detention is Inappropriate

        29.     It is particularly striking that these children we could be serving are being

 detained in motels, given the current availability of over 10,000 state licensed beds within the

 ORR network.

        30.     As Congress recognized in assigning custody of unaccompanied children to ORR

 rather than DHS, highly vulnerable children traveling alone should be placed in licensed care

 facilities, not at motels under the watch of government contractors, who likely have little to no

 expertise or training in child welfare. This situation carries high risks that a child could be

 harmed, and there is no apparent oversight to ensure that will not happen. Moreover, remaining

 in a motel or processing station with contractors could be highly traumatizing to children who

 have fled dangerous conditions in their countries of origin.




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        I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge and belief.



 Dated: August 13, 2020
                                                         Maria M. Odom, Esq.




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       ATTACHMENT A
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                    Statement for the Record by Kids in Need of Defense (KIND)
            “CBP Oversight: Examining the Evolving Challenges Facing the Agency”
                Senate Committee on Homeland Security and Governmental Affairs
                                                   June 25, 2020
 Kids in Need of Defense (KIND) is the leading national organization working to ensure that no
 child faces immigration court alone. KIND was founded by the Microsoft Corporation and the
 United Nations Refugee Agency (UNHCR) Special Envoy Angelina Jolie. We have served more
 than 20,000 unaccompanied children in removal proceedings, trained over 50,000 attendees on the
 pro bono representation of these children, and formed pro bono partnerships with more than 650
 corporations, law firms, law schools, and bar associations. KIND also helps children who are
 returning to their home countries to do so safely and to reintegrate into their home communities.
 In addition, we seek to change law and policy to improve the protection of unaccompanied children
 in the United States and to build a stronger regional protection framework throughout Central
 America and Mexico.
 KIND strongly opposes the Department of Homeland Security (DHS)’s illegal expulsions of
 unaccompanied children and Customs and Border Protection (CBP)’s role in implementing them.
 Under indefinite Centers for Disease Control and Prevention (CDC) and DHS entry restrictions,
 DHS has summarily returned to Mexico and Central America over 2,000 unaccompanied children
 who arrived at the U.S. southern border.1 These expulsions violate the bipartisan Trafficking
 Victims Protection Reauthorization Act of 2008 (TVPRA)2 by stripping children of vital legal
 protections and any meaningful opportunity to seek humanitarian relief before being returned. As
 a consequence, expelled children face a heightened risk of human trafficking and persecution—
 precisely the outcomes that the TVPRA was intended to prevent. Though DHS has used the
 COVID-19 pandemic as a pretext for its actions, medical experts have made clear that this policy
 lacks a valid public health rationale and that the U.S. government is fully capable of upholding our
 laws and humanitarian values while also protecting public health and safety.3
 By helping carry out these expulsions, CBP bears direct responsibility for contravening the
 TVPRA. Under the Act, the U.S. government must screen unaccompanied children to determine
 whether they are at risk of trafficking or fear return to their home countries. The TVPRA further
 requires that DHS transfer unaccompanied children from noncontiguous countries, as well as
 unaccompanied children from contiguous countries who are at risk of trafficking, fear return, or
 are unable to make an independent decision about withdrawing their application for admission,
 into ORR care and custody and place them into full immigration court proceedings. Yet CBP is
 flouting these requirements by summarily returning children to their country of origin or pushing

 1
   See, e.g., Lauren Villagran, “Despite coronavirus, children are still arriving at the border. They're being turned
 away” El Paso Times (Jun. 10, 2020); https://www.elpasotimes.com/story/news/2020/06/10/border-patrol-rejects-
 migrant-children-cdc-authority-covid-19/5274691002/.
 2
   P.L. 110-457.
 3
   Priscilla Alvarez, “Health experts slam Trump administration's use of public health law to close border” CNN
 (May 18, 2020); https://www.cnn.com/2020/05/18/politics/border-closure-public-health/index.html.
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  them back into Mexico without any consideration of their safety. In fact, of the more than 1,000
  unaccompanied children encountered by DHS at the U.S. southern border in May, only 39 were
  referred to ORR.4
  CBP’s disregard for these statutory protections is squarely linked to the enhanced danger—not
  least of human trafficking—to which arriving unaccompanied are now exposed. By omitting
  screenings of these children for trafficking concerns, for instance, CBP fails to observe and
  respond to any evidence that they were trafficked into the United States for commercial sex or
  forced labor or would be returned into trafficking situations if expelled. Moreover, because CBP
  has refused to apply the legal definition of “unaccompanied alien child” provided for in the
  Homeland Security Act—as addressed in more detail below—it has incentivized the rapid return
  of children to Mexico together with unscreened adults who could pose a danger to them.
  Additionally, expelled children are not benefitting from the skilled and protective screenings
  performed by attorneys and social workers specially trained to identify protection needs among
  this vulnerable population. CBP’s website states that it is “uniquely situated to deter and disrupt
  human trafficking,”5 but the bureau’s contributions to the expulsions of unaccompanied children
  makes clear that it has abdicated any such ‘unique’ position. Ultimately, CBP’s defiance of
  Congress’s anti-trafficking requirements does not deter or disrupt human traffickers at all—it
  emboldens them.
  No less troubling, CBP has elected not to adopt a readily available measure that would shield
  unaccompanied children from these harmful expulsions. The CDC and DHS orders underlying
  expulsions limit entry at the U.S. southern border to “essential travel.” Notably, however, the
  orders allow for exceptions when appropriate. DHS has already designated a host of traveler
  populations, including students and truck drivers, “essential” and thereby exempt from the entry
  restrictions, while also expressly authorizing CBP to designate additional populations in this
  manner.6 Yet CBP has failed to deem unaccompanied children “essential.” CBP’s refusal to follow
  the TVPRA and exercise its authority to exempt unaccompanied children from expulsions is wrong
  and dangerous for children. The TVPRA, after all, reflects a bipartisan determination that
  unaccompanied children’s often life-and-death pursuit of protection is so imperative as to warrant
  a unique array of due process safeguards. In the strongest terms, then, KIND rejects CBP’s position
  that the safety of unaccompanied children is “non-essential.”
  Alarmingly, a leaked CBP memorandum guiding agents and officers’ implementation of
  expulsions reveals that CBP has gone so far as to fashion the term “unaccompanied juvenile”—
  one that appears nowhere in relevant statute—in order to bypass the existing definition of an
  “unaccompanied alien child” in the Homeland Security Act of 2002 (HSA)7 and the corresponding
  legal obligations in the HSA and the TVPRA. On an immediate level, this invented term facilitates
  DHS’s expulsion of unaccompanied children under the pretext of returning family units. More

  4
    Camilo Montoya-Galvez, “Just 39 unaccompanied migrant children avoided Trump's border expulsions in May”
  CBS News (Jul. 18, 2020); https://www.cbsnews.com/news/unaccompanied-migrant-children-trump-expulsion-
  border-policy/.
  5
    Customs and Border Protection, “Human Trafficking” (Jan. 9, 2020); https://www.cbp.gov/border-security/human-
  trafficking.
  6
    DHS Order, “Notification of Temporary Travel Restrictions Applicable to Land Ports of Entry and Ferries Service
  Between the United States and Mexico” (May 19, 2020);
  https://www.dhs.gov/sites/default/files/publications/20_0519_as1_frn_us-mexico-border.pdf.
  7
    6 U.S.C. 279(g)(2).
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 fundamentally, by seeking to administratively limit application of the “unaccompanied alien child”
 definition codified by the legislative branch, CBP is aiming to effectively extinguish bipartisan
 statutes core to the protection of unaccompanied children.
 In view of these grave concerns, KIND calls upon CBP to: (1) exempt unaccompanied children
 from the CDC and DHS entry restrictions by declaring them “essential” and cease summary
 removals of children under the CDC order; and (2) fully conform to all TVPRA and HSA
 requirements by, among other actions, performing full protection screenings and making referrals
 to ORR as mandated under the TVPRA, and by adhering to the HSA’s definition of
 “unaccompanied alien child.” CBP, and DHS as a whole, can and should process children’s
 protection claims in accordance with the law while still safeguarding the health of these children
 and of the public at large.
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       ATTACHMENT B
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  Please note that I am working remotely.
  Skype: Nicholas Stefaniak
  Email: nstefaniak@supportkind.org
  www.supportkind.org

  *Admitted to practice in Maryland only




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   From:
   To:                Nicholas Stefaniak;
   Cc:                Florence Chamberlin; Lisa Frydman
   Subject:           RE: Imminent removal of an unaccompanied child
   Date:              Thursday, July 23, 2020 4:32:47 PM
   Attachments:       image003.png
                      image004.png




  [External Email]

  Good Afternoon, your client will be placed in title 8 proceedings and placed in ORR care as soon as
  his case is reprocessed.

  Thank you,


  Deportation Officer
  Phoenix FOJC Unit
  Phoenix Field Office
  Cell:
  Office:

  From: Nicholas Stefaniak <nstefaniak@supportkind.org>
  Sent: Thursday, July 23, 2020 4:30 PM
  To:                      <                @ice.dhs.gov>
  Cc: Florence Chamberlin <fchamberlin@supportkind.org>; Lisa Frydman
  <lfrydman@supportkind.org>
  Subject: RE: Imminent removal of an unaccompanied child

   CAUTION: This email originated from outside of DHS. DO NOT click links or open attachments unless you recognize
   and/or trust the sender. Contact ICE SOC SPAM with questions or concerns.

  Hello,
  Regarding W        M       A       , DOB       /2002, Guatemala, I would also appreciate it if your
  office could confirm that he is being processed under Title 8, and that he will be sent to ORR
  custody.
  Any information on this case would be appreciated.
  Thank you for your attention to this matter,


  Nick Stefaniak, Esq.
  Senior Attorney – Special Programs – Tijuana, Mexico *
  Kids in Need of Defense (KIND)
  1201 L Street NW, Floor 2
  Washington, DC 20005
  Phone: (202) 459-6142, ext. 1057
  Please note that I am working remotely.
  Skype: Nicholas Stefaniak
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  Email: nstefaniak@supportkind.org
  www.supportkind.org

  *Admitted to practice in Maryland only




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  From: Nicholas Stefaniak
  Sent: Thursday, July 23, 2020 3:54 PM
  To:                   @ice.dhs.gov
  Cc: Florence Chamberlin <fchamberlin@supportkind.org>; Lisa Frydman
  <lfrydman@supportkind.org>
  Subject: Imminent removal of an unaccompanied child

  Hello,
   Attached is a G-28 for W      M         A     , DOB       /2002, from Guatemala. We believe he
  crossed on 7/21/2020 through Tucson and was apprehended by CBP. I am authorized by his brother
  to speak on his behalf.
   I just spoke with a Deportation Officer who confirmed that W       was initially placed in Title 42
  proceedings, but that he has requested W        be sent back to CBP to be reprocessed under Title 8
  and sent to ORR.
   We are concerned about this child and would like to find out how we can talk to the child in
  custody as soon as possible.
   Please let us know if you need any more information.
  Thank you for your attention to this matter,
  Nick Stefaniak


  Nick Stefaniak, Esq.
  Senior Attorney – Special Programs – Tijuana, Mexico *
  Kids in Need of Defense (KIND)
  1201 L Street NW, Floor 2
  Washington, DC 20005
  Phone: (202) 459-6142, ext. 1057
  Please note that I am working remotely.
  Skype: Nicholas Stefaniak
  Email: nstefaniak@supportkind.org
  www.supportkind.org

  *Admitted to practice in Maryland only
Case 2:85-cv-04544-DMG-AGR Document 920-3 Filed 08/14/20 Page 21 of 24 Page ID
                                 #:40261




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Case 2:85-cv-04544-DMG-AGR Document 920-3 Filed 08/14/20 Page 22 of 24 Page ID
                                 #:40262

   From:
   To:                Nicholas Stefaniak
   Cc:                                  ;                     (OCC);
   Subject:           RE: Imminent removal of an unaccompanied child
   Date:              Friday, July 24, 2020 10:18:18 AM
   Attachments:       image003.png
                      image005.png




  [External Email]

  We can confirm that M             -A        is being processed under Title 8 and will be referred to ORR.

  No A# or shelter information is available at this time, however your client is available by telephone.


  Special Operations Supervisor
  Tucson Sector Headquarters
  Tucson Coordination Center
                 Desk
                 Cell


  From: Nicholas Stefaniak <nstefaniak@supportkind.org>
  Sent: Friday, July 24, 2020 9:49 AM
  To:                     <                @CBP.DHS.GOV>;             <        @cbp.dhs.gov>
  Cc:                       <                    @CBP.DHS.gov>;
  <                            @cbp.dhs.gov>; Florence Chamberlin <fchamberlin@supportkind.org>;
  Lisa Frydman <lfrydman@supportkind.org>
  Subject: RE: Imminent removal of an unaccompanied child

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   and/or trust the sender. Contact the CBP Security Operations Center with questions or concerns.

  Hello,
   I very much appreciate your prompt response and attention to this matter. I spoke with a
  Deportation Officer at ICE, Phoenix who informed me that my client - W      M         -A                     ,
  DOB       /2002 Guatemala - will be returned to CBP for Title 8 processing.

    If your office could confirm that my client will be referred to ORR and processed through Title 8, I
  would be much appreciative. If he receives an A# and shelter destination, I would appreciate
  receiving that information in order to track processing more efficiently.

  Please let me know if there is any additional information you need regarding this request.

  Regards,

  Nick Stefaniak, Esq.
Case 2:85-cv-04544-DMG-AGR Document 920-3 Filed 08/14/20 Page 23 of 24 Page ID
                                 #:40263
Case 2:85-cv-04544-DMG-AGR Document 920-3 Filed 08/14/20 Page 24 of 24 Page ID
                                 #:40264

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   and/or trust the sender. Contact the CBP Security Operations Center with questions or concerns.

  Hello,
   Attached is a G-28 for W       M        A      , DOB        /2002, from Guatemala. We believe he
  crossed on 7/21/2020 through Tucson and was apprehended by CBP. I am authorized by his brother
  to speak on his behalf.
   We are concerned about the imminent removal of this unaccompanied child, and as the attorney of
  record, would like to find out how we can talk to the child in custody as soon as possible. We believe
  that the child may have a fear of return to Guatemala, and he should be provided with a screening of
  his claim under the Convention Against Torture. Please let us know if you need any more
  information.
  Thank you for your attention to this matter,
  Nick Stefaniak




  Nick Stefaniak, Esq.
  Senior Attorney – Special Programs – Tijuana, Mexico *
  Kids in Need of Defense (KIND)
  1201 L Street NW, Floor 2
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